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11-CV-05906-CMP 2 —_—_—_——_
e NOV 03 2011
US Court ~ Western District of Washi CRS RT NGTON AT TACOMA
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Seattle Clerk's Office By
U.S. Courthouse
Union Station Courthouse
® 1717 Pacifie Ave
Tacoma, WA 98402
CC y
Chris Walters, 1 1 5 G UV 6 REL
c/o 824 5" Ave SE }
e Olympia, WA 98501 }
Plaintiff Pro Se )
)
Presiding Judge: )
)
Case NO )
e )
Filed Date: }
¥S. )
)
)
Patricia Obrien Under-Secretary Mr. Luis Moreno Ocampo }
e General for Legal Affairs International Prosecutor )
Office of Legal Affairs Information & Evidence Unit —)
United Nations Headquarters Office of the Prosecutor }
Room No. 3430A PO Box 19519 }
New York, NY 10017 2500 CM The Hague )
Defendant The Netherlands, )
Defendant )
©
AMICUA CURIAE COMPLAINT ON QUESTION OF PLACING
THE SOCIAL SECURITY ADMINISTRATION INTO CUSTODY OF WORLD COURT?
NOW COMES THE Plaintiff Pro Se Chris Walters in this Amicus Curie brief at Bar in this
@ Amicus Curiae brief asking if the Social Security Administration should be placed in custody of the |
World Court through the Offices of the UN Legal Counsel and International Prosecutor’s Office as
extensive evidence confirms the United States is unable to defend it’s national sovereignty to wit:
e JURISDICTIONAL STATEMENT ACTIONS AGAINST FOREIGN STATES
1. While the United States Supreme Court does have an original jurisdiction over actions
involving foreign powers Title 28 USC 1251 (b)(1) Original Jurisdiction the power to adjudicate
le actions against foreign governments also resides in the United States District Court pursuant to
Title 28 USC 1330 Actions against foreign states.
1
1

 

 
 

 

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CAUSE OF ACTION IS UNITED STATES UNABLE TO GOVERN
Cited Online: http://afterdarkportal.net/ssi/index.html
1. In 2007 The Commissioner of Social Security Michael Asture made his final determination
in Chris Walters SSE Claim XXX-XX-XXXX in the US District Court of New Mexico when the
issues of law were resolved in Walters v Asture Case #: 1:07-cv-00257-JCH-RLP the
Honorable Judge Judith Hererra ruling the case was closed and Well Pleaded.
2. Exhibit A: In the course of adjudicating Chris Walters SSI claim over the last 15 years the
various Courts have as cited in US Circuit Court of Appeals District of Columbia Walters V
Astrue 09-cv-5209 that Chris Walters SSI claim; benefits; and circumstances cannot be
changed without a hearing before a US District Court pursuant to Title 42 USC 405(g)(H)
Judicial Review.
While the Social Security Commissioner has not requested a judicial review quite a number
of 3 parties have appeared pursua sponte and generated about 200 megabytes of
additional questions cited online which the various Courts have rujed have no merit:
e http://afterdarkportal.net/ssi/index.html
Also cited on the enclosed CD-Rom Exhibit C ongoing serious violations of Human Rights
law and International Law and Treaty are also documented online:
@ http://afterdarkportal.net/ssi/fgj/index.html
A. Since 2007 when the issues of law were resolved in Walters v Asture Case #: 1:07-cy-00257-
JCH-RLP the cost to Chris Walters to answer frivolous litigation from 3" parties has been
e Over $67,000 where the Courts have found no merit for additional discussion:
http://afterdarkportal.net/ssi/zzcontract/citation2. htm
5, Exhibit B On or about September 19", 2011 the Social Security Administration states Chris
Walters income payment is $674.00.
é. On November 1*, 2011 the Social Security shorted Chris Walters about $200 on his monthly
SSI check stating he was receiving subsidized living arrangements in September, 2011 at
Kindred Transitional Rehabilitation in Boise, Idaho with no required notice or court

review.

 

 
 

 

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7, The Social Secarity Administration is apparently seeking payment from Chris Walters
where an act of genocide was attempted when Chris Walters was run out of Kindred
Transitional Rehabilitation in Boise, Idaho on September 1“, 2011 at the request of a self
professed Texas Terrorist:
http://afterdarkportal.net/ssi/fgj/sids.htm

8. The Court is asked to consider what basis in fact or law exist for Social Security to bill
Chris Walters for having him run out of Idaho?

9, It is recommended UN Security Council peace keepers and other paramilitary forces
Facilitate summary execution of any officer, agent, representative of the United States or

3™ party caught in the act of Genocide or as cited assassination attempts:

http://afterdarkportal.net/ssi/zzcontract/index10.htm
http://afterdarkportal.net/ssi/fgj/herberte.htm

http://afterdarkportal.net/ssi/zzcontract/index17,.htm
10. Exhibit D: While Chris Walters is qualified for and applied for Medicaid in Washington

State DSHS it appears Washington official are withholding benefits.

11. The United Nations will be asked to levy a $5 Billion Human Rights Sanction against the
Social Security Administration and Washington State DSHS for Crimes Against Humanity,
Genocide, and other criminal acts facilitated against Social Security applicants and
recipients.

12. The UN Prosecutor’s office is asked to prosecute, try, and possibly where required execute
parties engaged in genocide where if for instance Chris Walters were to die from lack of
medical attention due to denial of medical benefits.

AMICUS CURIAE REQUEST FOR RELIEF AND SCOPE OF
COURT ACTION & JURISDICTION

If the Honorable United States District is indeed able to determine that the Commissioner of
Social Security and his agents, representative are unable to defend their legal charge the
Social Security Administration from unlawful 3" party tampering and placing their clients including

Chris Walters in a position of risk and violation of legal rights the Court might be take action as cited

below:

 

 
 

 

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1. If the Court finds the Social Security Commissioner is unable to operate his agency within
the bounds of fact and law the United Nations will be asked to place the Social Security
Administration into temporary custody of the World Court under control of a “Special Master”.
2. The proposed $5 Billion Human Rights Sanctions on Social Security and Washington
DSHS can be applied to the cost of the UN placing Social Security into custody of the World
Court; Court Costs; and restituting $67,000 in legal to costs to Chris Walters for having to
respond to numerous frivolous request by 3™ parties.

3. If the United Nations approves such a jurisdictional authority the Office of International
Prosecutor will actively prosecute human rights violations occurring throughout the Social
Security Program.

4, The Court should not be limited in it’s scope of action and relief simply because Chris
Walters is a Plaintiff pro se; not fully qualified to practice federal law nor by the fact that

Chris Walters may become unable to participate by reason of disability.

Respectfully by Chris Walters

Special Defender on Human Rights.

Counsel Pro Hac be, { Mi
United Nations High Commission on Human Rights

$24 5 Ave SE

Olympia, WA 98501 Wa 4. 201

Email: afterdarkportal@ gmail.com

 

 
 

 

 

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ORDER Litigation Ended
US Circuit Court of Appeals
For The Fifth Circuit
Case 99-50174 Walters + Miller
600 Camp Street
New Orleans, LA 70136
(504-310-7700

Byron White U.S, Courthouse
DC 08 2094 Walters ¥ Astrue
1823 Stout Street
Denver, CO 80257
303-844-3157

 

Page 5 of 11Page 1 of 1

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arom aren pe Joe, an Fad ms see
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‘a naphit y comiceren om mae heen eey ish ares CamesConat
ree Da fs i]

Before Supreme Court of the United States
One First Street N.E.

Washington, DC 20543

Case 99-50174 Walters + Miller Declined to

review, overturn, or amend at request of North
Carolina 2003

J Circuit Court of Appeals
District of Columbia
333 Constitution Ave, NW
Washington, D.C. 20001

 

 

 

 

Exhibit A Federal Court Rulings & ORDERS For Closure & Submission
Citation of Authority-Black Letter Law-Title 42 USC 405(g)H Judicial Review

 

1. All proceeding cited are in submission of the Court ORDERS clted below and all reviews are
restricted to Tithe 42 USC 405(g)H Judicial Review as ORDERED BY:
2. USPC DT Walters + Miller: CA: SA-97-CA-1313 before the Honorable US Judge Fred Biery;

Walter v Miller: Affirmed by 3th US Circuit Court of Appeals Before Reuvtey, Politz, and Jolly
Circuit Judges- 99-50 174:

file://F:\107thcongress\service\service.htm

 

4. Bradshaw + Walters. Hooker Superior Court 04 CVS 2674 Winston Salem, NC;

5. Walters + Asture USDC, NM Judge Herrera Presiding #: 1:07-cv-00257-JCH-RLP; Walters +
Astrue; C080380 The Honorable Judge Robert Scott; Decision affirmed by 10th US Circuit Court af
Appeals 08-2094;

6, Maiters ¥ Astrue 09-1956 the Honorable Rosemary Collyer Presiding; Walters ¥ Asture US Circuit
Court of Appeals DC Cisil: ; 09-05206 declined to ever turn lower court ruling:

7. US Supreme Court declined to permit reviews of actlons 10/2008 because the time limits have
expired.

 

11/2/2011

 

 
 

 

 

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*** REC 2011262 150413 H42D01E0 CKF2 CIPQYAS PQAS {(F-ID4 }) ***

SOCIAL SECURITY ADMINISTRATION

Date: September 19, 2011
Claim Number: 261-90-6357A
261-90-6357DI

CHRISTOPHER A WALTERS
c/O DASIL

29 NORTH IVY

MEDFORD OR 97501

You asked us for information from your record. The information that you
requested is shown below. If you want anyone else to have this information, you
may send them this letter.

Information About Supplemental Security Income Payments

Beginning October 2011, the current
Supplemental Security Income payment is..........-...- $ 674.00

This payment amount may change from month to month if income or
living situation changes.

Supplemental Security Income Payments are paid the month they are due. (For
example, Supplemental Security Income Payments for March are paid in March.)

There was no cost of living adjustment in Social Security benefits in December
2010. The benefit amount shown is current as of the date on this letter.

 

 
CLA

If you have any questions, you may call us at 1-800-772-1213, or call your

local Social Security office at 866-593-0664. We can answer most questions

over the phone. You can also write or visit any Social Security office. The
® office that serves your area is located at:

Case 3:11-cv-05906-RBL Document 1-1 OO ao 7 of 11

If You Have Any Questions

SOCIAL SECURITY
SUITE 101

3501 EXCEL DR
MEDFORD, OR 97504

If you do call or visit an office, please have this letter with you. It will

help us answer your questions. J
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OFFICE MANAGER a

 

 
Case 3:11-cv-05906-RBL Document 1-1 Filed CHeB1 (Page 8 of 11

art secs si Application for Benefits
& Health Services ["] Hf you need help filling out this form,
please check this box.

@ [7 FIRSTNAME MIDDLEINITIAL LAST NAME COR: lan ED) 2. CLIENT ID NUMBER (IF KNOWN)
WALTERS  CHRIsOPHER A.

3. STREET ADDRESS WHERE YOU LIVE city 7 STATE ZIP CODE 4. HOME/PREFERRED PHONE NUMBER

B24 Sth ME SE ONMPIA . WA

5. MAILING ADDRESS (iF DIFFERENT) CITY STATE ZIP CODE 6. OTHER PHONE NUMBER(S)

 

 

 

 

 

 

 

 

 

 

@ = 8. Lam applying for (check aii tlrat apply):

[] Cash [] Food edie (J Brug or Alcohol Treatment
[Nursing Home [7] Assisted Living Wadat Family Home [] In-Home Care | 7. EMAIL ADDRESS
(J Other (please list):

9. How much money do you expect your household to get this month? ¢ GTY0? non

 

 

 

 

 

 

 

 

 

 

 

 

 

       

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

® 10, How much money does your household have in cash and bank accounts? $ go of.
11. How much does your household pay for rent or mortgage? $ oO
12. What utilities does your household pay for? [] Heating/cooling O resp [] Other:
13. 1s anyone in your household a seasonal or migrant farm worker? CJ Yes No
e 14. if applying for food assistance, how many people in your household do you buy and prepare food for?
FOR OFFICE USE ONLY — Household eligible for expedited service: [] Yes (7 No  Screener’s Initials: Date: |
15. | need a phone interview. Please call me at:
16. (] i need an interpreter. | speak: or LJ sign; translate my letters into:
17. List everyone in your household even if you are hot applying for them (attach additional sheets, if rnecessaly).
eo | - re Hows a
nage. Mel Q
a PERSON
“ast, MIDDLE, Last) | On | cREcATED 7 3 s
Olen A wees (Mysaif) Ol |2e- ¥9-6357
e LI
CO
C]
Cc
e Oo :
C] |
O |
18. 1 or someone in my household have a (check all that apply): [_[] Pregnancy; due date:
fA Medical emergency [[] Domestic violence situation L] Disability (list type):
e 19. in the past 30 days, | got cash, food, or medical assistance from another state or source: BJ Yes [_] No
20. 1am or someone I'm applying for is fleeing from the law to avoid going to court or jail for a felony crime: [] Yes LgNo
21. OPTIONAL. For food assistance if you don’t answer, the USDA requires us to answer for you.
My ethnic background is Hispanic or Latino: Yes Mio
22. | consider my race to be (check all that apply):P] White [[] Black or African American [[] Asian
e@ [|] Native Hawaiian or Other Pacific Istander [_] American Indian or Alaska Native; tribe name:
[_] Other (list):
DSHS 14-001(X) (REV. 04/2008) —
WALTERS,CHRISTOPHER A
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ACCT: 11277-00144 DOS: 10/04/11
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1. Someone |’m applying for tives outside Washington State: Ol Yes
2. | or someone in my household is a sponsored alien: [1] Yes No Who:
3. Someone is temporarily out of my home: [_] Yes No Who:
° 4. | or someone I’m applying for served in the military: |] Yes No Who: i
5. Someone is the dependent or spouse of someone (living or deceased} who served in the military: Yes [ANo
6. | am fiving in: [7] My own house or apartment [] GroupHome [} Other:
C] Facility (list type): Date entered:
7. iam: Single Ol Martied Q Divorced O Separated Ty Widowed
® }, my Spouse, or someone in my household rao appropriate box):
1. Can't work because of healt Problems 0.0... eeeeecsseceeeeceeeeseseeeenesesessensneeeceseaeeedieataeaseerseetaeaesteneess ves C1 No
2. Had an accident requiring Medical CAPG.......-.c.ccescsesesessseresssescersesssssessetceescausessecsenraecsenesseeacstatsenvaseseseees es []No
3. Pian to enter, are in, or recently left a medical facility (such as a hospital or nursing home)................. es []No
4. Have unpaid medical bills ..........ccceccessssssssscesssesesssessscesssssessseatessesusessstsessesssseessusevaseseuacanesceeeesscceaestsass Yes ["] No
@ 5. Need help with unpaid medical bills for any of the past three montins.....0..... eee esenseetseeneeceeeees FJ Yes {JNo
6. Have health insurance (Check ail that apply): [|] Medicare (not DSHS medical) [J Tricare
Cl Long-Term Care Insurance. Cl Other Health Insurance:
A resource is anything you own or are @ buying that ¢ can be sold, traded, or r converted into cash ¢ or money held by others. A
© resource does not include personal property such as furniture, or clothing. Examples of resources are:
e Cash e Mutual funds ¢ Houses, including the one e Life insurance
e Checking accounts «© Stocks you five in « Burial funds, prepaid plans
e Savings accounts e Annuities e¢ Condominium e College funds
« cCDs « Trusts e Land * Time-share
e Money market account e IRA e Sales contracts e Business equipment
e * Savings bonds e 401K e Building « Farm equipment
e Bonds e Retirement fund * Life estate e Livestock
Please list the resources you, your spouse, or anyone you are applying for owns or is buying:
RESOURCE WHO OWNS LOCATION VALUE WHO OWNS LOCATION VALUE
$ $
e 4 $ $
as - $
LO $ ys
LZ. fis Zo $7
SL. Lf. $ 1 /S_
2 L LZ $ f J $
Z 7 $ 7. 7 (8
ZZ LA $ ZL , $
| $ 7 $
e 2. |, my spouse, or someone I'm applying for have cars, trucks, vans, boats, RVs, trailers, or other motor vehicles: __
j YEAR CHECK IF VEHICLE 1S USED
| _(E.G., 1980) MAKE (E.G., FORD) | MODEL (E.G., ESCORT) | CHECK IF LEASED | op mepicAl PURPOSES AMOUNT OWED
' a a OJ LJ $
| a a qj | O $
3. 4, my spouse, or someone I'm applying for has sold, traded, given away, or transferred a resource in the fast five years
(including trusts, vehicles or life estates): [] Yes -/] No If yes, what: when:
DSHS 14-004(X)} (REV. 04/2008) Page 4

WALTERS,CHRISTOPHER A
DOB: 10/17/50 60Y MM MR:0000-52-50-88
ACCT: 11277-00144 BOS: 10/04/11

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Case 3:11-cv-05906-RBL Document 1-1 Filed 11/03/11 Paden Oar

TS wot, p ¢

1. 1, my spouse, or someone I'm applying for quit a job within the past 60 tw
2. |, my spouse, or someone I'm applying for has income from work: No If yes, please complete this section:
e WHO MAKES THIS INCOME GROSS AMOUNT RECEIVED (DOLLAR AMOUNT BEFORE TAXES)
$ every: (] Hour (j] Week

CL] Two weeks [] Twice amonth [] Month
Hours per week:
| Pay dates (e.g., 1" and 15", or every Friday):

® is this job self-employment? [_] Yes [7] No |
WHO MAKES THIS INCOME

 

SOCIAL SECURITY NUMBER CUENT IDENTIFICATION NUMBER

_ 261-Fp- G3S4

 

     

   
   
  
  
  
    
   
   

 

 

 

 

EMPLOYER'S NAME AND PHONE NUMBER

 

START DATE

 

 

GROSS AMOUNT RECEIVED (DOLLAR AMOUNT BEFORE TAXES)
$ every: ([] Hour [[] Week

[] Two weeks [] Twice amonth [] Month
Hours per week:

EMPLOYER'S NAME AND PHONE NUMBER

 

 

 

 

 

    
 
  

   
 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

START DATE hon an
e Pay dates (e.g., 1° and 15", or every Friday):
Is this job self-employment? (] Yes C] No
en ie , Oe ge a ae
cae eas EE eng ee etwas 55 Bir
WHO GETS GROSS MONTHLY
INCOME? AMOUNT INCOME? AMOUNT
e | Unemployment benefits $ $
; : ;
Social Security $ $
Supplemental Security income (SS!) Ua (1.0 re- $ (4 fe $
Child support or spousal maintenance $ $
e | pp p = a
Retirement or pension $ $
Veterans Administration (VA) or military benefits $ $
Labor & Industries (L&I) or insurance benefits $ $ |
@ | Trusts . 1s $ |
Interest $ 3 |
Railroad benefits $ $ )
Rental income $ $ |
Other: $ i$
Other: $ $

 

 

 

    
      

oe a doahGaere tes se cee Se ee ee ee 7,
WHO OWNS THE ANNUITY? COMPANY OR INSTITUTION? ‘AMOUNT OR VALUE | MONTHLY INCOME | DATE PURCHASED

| ee $ is .
cma = 8 ZO |8

a " $ — 48
if you, or your spouse, have an interest in an annuity and you accept Medicaid Long Term Care benefits, you must name
the State of Washington as a remainder beneficiary of the annuity.

 

 

 

 

  

 

 

 

DSHS 14-001(X) (REV. 04/2008) . Page 5
WALTERS,CHRISTOPHER A

DOB: 10/17/50 60Y M MR:0000-52-50-88
ACCT: 11277-00144 DOS: 10/04/11

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Case 3:11-cv-05906-RBL Document 1-1 Filed 11/03/11 bo

 

 

 

: | Vi. MonthlyExpenses
RENT MORTGAGE SPACE RENT + SoRBoMNiOaT? FEES”
$ $

$
HOMEOWNER’S INSURANCE PROPERTY TAXES PROPERTY ASSESSMENTS OTHER FEES
$ $ $

Utilities (check all that apply): [] Heating (gas, electric, oil) [[] Electricity (not heat) [—] Phone
Water, sewer, garbage

| Another person or agency, such as subsidized housing, helps me pay either alt or part of these expenses: [] Yes [e’/No

 

smal]

 

"

 

 

 

 

 

 

 

 

If yes, who: What expense: Amount they pay: $
I, my spouse, or someone in my household pay or are supposed to pay (check all that apply):
[_I Child care or dependent care Monthly amount: $ Who pays:
[-] Child support | Monthy amount: $ Who pays:
(I Medical bills — | Monthly amount: $ | Who pays: |

 

ad > VIE. Authorized Representative
An Authorized Representative i is someone you allow DSHS to talk with about your bene its. You can name someone, but

 

 

 

 

 

 

 

 

 

 

 

you do not have to. Do you have an Authorized Representative? CI Yes No
's this person your legal guardian? [J] Yes [ihNo
Does this person have Power of Attorney? Ll] Yes No
NAME RELATIONSHIP | TELEPHONE NUMBER
STREET ADDRESS CITY STATE ZIP CODE
Declaration and Signatures i‘

 

 

 

if applying for cash or medical for adults, ail adults in the household must sign.
If applying for food assistance or medical for children, the applicant must sign.
| understand | must:
« Give correct information.
» Report the changes listed in my approval letter.
« Provide proof | am eligible. DSHS may help me get the proof or contact other persons or agencies for it.
e Assign certain rights to child support to the State of Washington when I receive Temporary Assistance to Needy
Families (TANF).
e Assign my rights to medical care support and third party payments for medical care to the State of Washington
when } receive medical care beneirts.
e Cooperate with food assistance work requirements

—~—-— Ld

If | don’t do these things, | may be denied benefits or have to pay thern back,

| understand | can be criminally prosecuted if | willfully:
e Make a faise statement.
« Fail to report something | should report.

 

| | have read or had explained te me my rights and responsibilities and received a copy of the Client Rights and
Responsibilities, DSHS 14-113. 1 certify or declare under penalty of perjury under the laws of the State of
Washington that the information | gave in this application is true and correct.

 

  
 
 

 
 
  

 
           

 

 

 

 

 

APPLIG IGNATURE DATE PRIYTED NAME OF APPLICANT CITY AND STATE WHERE SIGNED
x Af. { { A V 1-6 Toll hes GU, sgase_{
OTHERADULT APPEICANT'S SIGNATURE DATE PRINTED NAME OF OTHER ADULT ZAND STATE WHERE SIGNED
HELPER OR REPRESENTATIVES SIGNATURE DATE PRINTED NAME OF REPRESENTATIVE CITY AND STATE WHERE SIGNED
WITNESS SIGNATURE IF SIGNED WITH AN" DATE PRINTED NAME OF WITNESS |
DSHS 14-004(x) (REV. 04/2008) — Page 6
WALTERS,CHRISTOPHER A

DOB: 10/17/50 GOY M MR:0000-52-50-88
ACCT: 11277-00144 DOS: 10/04/11

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